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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                          November 01, 2024
                                                                           Nathan Ochsner, Clerk

                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

        KIM L. THOMAS,               § CIVIL ACTION NO
                  Plaintiff,         § 4:21-cv-01301
                                     §
                                     §
              vs.                    § JUDGE CHARLES ESKRIDGE
                                     §
                                     §
        UNITED AIRLINES INC,         §
                  Defendants.        §


                     ORDER TERMINATING PROCEEDINGS

             This case concerns claims brought by Plaintiff Kim L.
        Thomas against Defendant United Airlines Inc under Title
        VII and the Americans with Disabilities Act, along with
        their equivalents under Texas law. Dkt 21.
             In March 2023, an order granting summary judgment
        was entered in favor of United Airlines. Dkt 47; see also
        Thomas v United Airlines Inc, 2023 WL 5960084. In June
        2023, a further order was entered imposing sanctions
        against the Kennard Law Firm pursuant to Rule 11 of the
        Federal Rules of Civil Procedure. Dkt 49; see also Thomas
        v United Airlines Inc, 2023 WL 5969385. Detailed factual
        findings and reasons were stated in support of both rulings.
             The Fifth Circuit recently vacated and remanded the
        order largely on procedural grounds in an unpublished per
        curiam decision. Dkt 66. United Airlines was directed to
        file a status report stating its intention with respect to
        issues left open on remand. Dkt 67. Its subsequent status
        report requests the setting of a briefing schedule and
        evidentiary hearing with respect to a motion for sanctions
        under 28 USC §1927. Dkt 68.
             The Kennard Law Firm responds that the Fifth Circuit
        order entirely absolved it of the potential for any sanctions,
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        thus leaving nothing further to consider at this point.
        Dkt 69. That doesn’t appear to be correct. The Fifth Circuit
        resolved the main points at issue on procedural grounds
        concerning technical requirements of motion practice
        under Rule 11. Dkt 66 at 5–8. Other aspects of the opinion
        to which the Kennard Law Firm points dealt only with
        alternative grounds argued on appeal by United Airlines to
        uphold the sanctions order. Id at 8–10. Those arguments,
        however, were never before this Court and formed no basis
        of the prior rulings. Id.
            Discretion thus remains to pursue further proceedings
        on sanctions. Even so, the Court is disinclined to invest
        further judicial time and resources on remand. This is
        particularly so with respect to the request by United
        Airlines to bring an entirely new motion under 28 USC
        §1927, which hasn’t been previously asserted and would
        only serve to inject new issues into consideration. And
        regardless, the prior rulings were expressed in a manner
        sufficient to explain—and thus deter—the subject
        perjurious conduct.
            For the avoidance of doubt as to issues related solely to
        this remand from the Fifth Circuit, this is a FINAL
        JUDGMENT. See also Dkt 50 (previously dismissing action
        with prejudice and entering final judgment after sanctions
        order).
             SO ORDERED.
             Signed on November 1, 2024, at Houston, Texas.



                                   __________________________
                                   Hon. Charles Eskridge
                                   United States District Judge




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